Case 1:25-cv-01775-BAH   Document 10-6   Filed 06/24/25   Page 1 of 4




                    Exhibit D
                         1:25-cv-1775-BAH
        Case 1:25-cv-01775-BAH                 Document 10-6   Filed 06/24/25   Page 2 of 4




April 25, 2025

Bari Zeiger
Director of Finance and Grants
Providence Farm Collective Corp
5701 Burton Road
Orchard Park, NY 14127-3246

Re:   Termination Notice for Award No. 2023-49400-40904 for the project titled,
Empowering Refugee, Immigrant, and Black Beginning Farmers through Personalized,
Culturally Adapted Training and Education at PFC

Dear Recipient:

This letter provides notice that the United States Department of Agriculture is terminating
your federal award, (2023-49400-40904, Empowering Refugee, Immigrant, and Black
Beginning Farmers through Personalized, Culturally Adapted Training and Education at
PFC) in accordance with the terms and conditions of your award, which include applicable
regulations relating to termination. See 2 C.F.R. §§ 200.340-343.

It is a priority of the Department of Agriculture to eliminate discrimination in all forms
throughout the United States. The Secretary of Agriculture has determined, per the
Department’s obligations to the Constitution and laws of the United States, that priority
includes ensuring that the Department’s awards do not support programs or organizations
that promote or take part in diversity, equity, and inclusion (“DEI”) initiatives or any other
initiatives that discriminate on the basis of race, color, religion, sex, national origin, or
another protected characteristic. Such DEI policies and practices can violate both the
letter and purpose of Federal civil rights laws and conflict with the Department’s policy of
maximizing and promoting American agriculture, ensuring a safe, nutritious and secure
food supply, enhancing rural prosperity, and protecting our National Forests. In addition to
complying with the letter and spirit of the civil rights laws, it is vital that the Department
assess whether all awards are free from fraud, abuse, and duplication, as well as to assess
whether current awards are in the best interests of the United States.

Termination. The award specified above provides funding for programs that promote or
take part in DEI initiatives or other initiatives that unlawfully discriminate on the basis of
race, color, religion, sex, national origin, or another protected characteristic; that violate
either the letter or purpose of Federal civil rights laws; that conflict with the Department’s
policies and priorities; that are not free from fraud, abuse, or duplication; or that otherwise
fail to serve the best interests of the United States. The award is therefore inconsistent
with, and no longer effectuates, Department priorities. See 2 C.F.R. § 200.340(a)(4).

1400 Independence Avenue, SW, MS 2201 | Washington, DC | 20250-2201

USDA IS AN EQUAL OPPORTUNITY PROVIDER, EMPLOYER, AND LENDER
        Case 1:25-cv-01775-BAH                 Document 10-6   Filed 06/24/25   Page 3 of 4




Pursuant to, among other authorities, 2 C.F.R. §§ 200.339-343, which are applicable to
your award, the Department hereby terminates award No. 2024-67022-41533 in its entirety
effective 04/25/2025.

Closure. You must submit all final reports and a final payment request no later than 120
calendar days after the date of this notice. You will be reimbursed for costs incurred up to
the date of this notice that are determined to be consistent with 2 C.F.R. § 200.343, Effects
of suspension or termination. Any open balance remaining 120 days after the date of this
notice will be unavailable for payment.

If you do not submit all reports in accordance with the terms and conditions of the Federal
award within one (1) year of the effective termination date, the National Institute of Food
and Agriculture (NIFA) must proceed to close out the award with the information available.
In these circumstances, in accordance with 2 C.F.R. § 200.344, NIFA must report your
material failure to comply with the terms and conditions of the award in SAM.gov using the
Contractor Performance Assessment Reporting System (CPARS). In this way, failure to
submit timely and accurate final reports may affect your future funding.

Recipients are required by Federal regulation to retain all Federal award records consistent
with 2 C.F.R. § 200.334. Termination of the agreement does not affect a Federal agency’s
or a pass-through entity’s right to disallow costs and recover funds based on a later audit
or other review. In addition, termination does not affect a recipient’s obligation to return
any funds due as a result of later refunds, corrections, or other transactions, including final
indirect cost rate adjustments (refer to 2 C.F.R. § 200.345).

Appeal Process. The process for appeals can be found at 7 C.F.R. § 3430.62, Award appeal
procedures.

If you have questions, contact the NIFA Program Contact, Kimberly Whittet at
kimberly.whittet@usda.gov.

Sincerely,


Matthew Faulkner
Deputy Director, Office of Grants and Financial Management


CC:
Kimberly Whittet, Senior Policy Advisor, Office of Grants and Financial Management
Edward Nwaba, Division Director, Awards Management Division

1400 Independence Avenue, SW, MS 2201 | Washington, DC | 20250-2201

USDA IS AN EQUAL OPPORTUNITY PROVIDER, EMPLOYER, AND LENDER
        Case 1:25-cv-01775-BAH                 Document 10-6   Filed 06/24/25   Page 4 of 4




Melvin Carter, Division Director, Institute of Food Production and Sustainability
Elizabeth Leipler, Project Director, Providence Farm Collective Corp




1400 Independence Avenue, SW, MS 2201 | Washington, DC | 20250-2201

USDA IS AN EQUAL OPPORTUNITY PROVIDER, EMPLOYER, AND LENDER
